      Case 4:03-cr-00153-SWW            Document 254        Filed 08/05/08      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



                                              *
UNITED STATES OF AMERICA                      *
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                                              *
VS.                                           *                NO: 4:03CR00153 SWW
                                              *
                                              *                NO: 4:08CV00375 SWW
                                              *
GREGORY CALDWELL                              *
                                              *


                                             ORDER

       Before the Court is Petitioner Gregory Caldwell’s motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255 (docket entry #244), the Government’s response in

opposition (docket entry #250), and Caldwell’s reply (docket entry #253). After careful

consideration, the Court finds that the motion should be and hereby is denied as time-barred.

       On September 13, 2004, a jury found Caldwell guilty of conspiring to possess with intent

to distribute and possession with intent to distribute marijuana and crack cocaine in violation of

21 U.S.C. § 841(a)(1). On December 16, 2004, the late Honorable Judge George Howard, Jr.

sentenced Caldwell to 180 months’ imprisonment. Caldwell appealed his conviction, arguing

that Judge Howard erred in denying his motions to suppress statements and evidence and

allowing the government to amend Count 4 of the indictment at trial. United States v. Williams,

429 F.3d 767 (8th Cir. 2005). Caldwell did not challenge his sentence on direct appeal.

       On November 17, 2005, the Eighth Circuit issued an opinion affirming Judge Howard’s

                                                  1
      Case 4:03-cr-00153-SWW            Document 254            Filed 08/05/08    Page 2 of 3




rulings regarding Caldwell’s motions to suppress but reversing Caldwell’s conviction on Count

4. The Court of Appeals held that the failure to allege the elements of the offense set forth in

Count 4 of the indictment could not be cured by an amendment, and the Court reversed

Caldwell’s conviction on that single count. However, the Eighth Circuit affirmed the judgments

of conviction with respect to Counts 1, 2, and 3. Caldwell did not file a petition for certiorari.

       On remand, Judge Howard vacated Caldwell’s conviction on Count 4, reduced the

special assessment imposed under the original sentence, and left the 180-month prison term

intact. Caldwell filed a pro se notice of appeal.       The Eighth Circuit concluded that Caldwell’s

challenge to his convictions and sentence had to be raised in his first appeal and were beyond the

scope of the Court’s remand. Finding no non-frivolous issues for appeal, the Eighth Circuit

affirmed the amended judgment.

       On May 1, 2008, Caldwell filed the present motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255. The United States asserts that Caldwell’s motion must

be denied as untimely. Caldwell disagrees and argues that the statute of limitations was tolled

when he filed a notice of appeal from the amended judgment.

       The Antiterrorism and Effective Death Penalty Act imposes a one-year statute of

limitations for § 2255 motions. The limitations period begins to run from the latest of four

triggering dates: (1) the date on which the judgment became final by the conclusion of direct

review or the expiration of the time for seeking such review; (2) the date on which the

impediment to filing an application created by State action in violation of the Constitution or

laws of the United States is removed, if the applicant was prevented from filing by such State

action; (3) the date on which the constitutional right asserted was initially recognized by the


                                                    2
      Case 4:03-cr-00153-SWW             Document 254        Filed 08/05/08      Page 3 of 3




Supreme Court, if the right has been newly recognized by the Supreme Court and made

retroactively applicable to cases on collateral review; or (4) the date on which the factual

predicate of the claim or claims presented could have been discovered through the exercise of

due diligence. 28 U.S.C. § 2255.

       In this case, the Eighth Circuit remanded the case solely for the purpose of vacating

Count 4. Judge Howard’s ministerial compliance with the directions on remand did not supply

Caldwell a second chance to challenge his convictions or sentence on appeal, and his frivolous

appeal did not toll the statute of limitations. Accordingly, the judgment of conviction became

final on February 15, 2006, ninety days after the Eighth Circuit issued its ruling on his direct

appeal. See Clay v. United States, 123 S. Ct. 1072, 1076 (“Finality attaches when this Court

affirms a conviction on the merits on direct review or denies a petition for writ of certiorari, or

when the time for filing a certiorari petition expires.”) Thus, Caldwell had until February 15,

2007 to file a § 2255 motion for post conviction relief, and his present motion, filed on May 1,

2008 is untimely.

       For the reasons stated, the motion for relief under 28 U.S.C. § 2255 is hereby DENIED

AS UNTIMELY and this action is DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED THIS 5TH DAY OF AUGUST, 2008.


                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE




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